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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION
____________________________________                  )
                                                      )
                                                      )
UNITED STATES OF AMERICA,                             )
                                                      )
    v.                                                )
RAPHAEL SMITH,                                        )   No.: 4:21-CR-111-RSB-CRR
                                                      )
     Defendant.                                       )
__________________________________                    )

                     UNOPPOSED MOTION TO CONTINUE
                         EVIDENTIARY HEARING

         COMES NOW, the Defendant above-named, by and through undersigned

counsel, and files this Unopposed Motion to Continue Evidentiary Hearing. In

support thereof, Defendant shows as follows:

         1. An evidentiary hearing on the Defendant’s Motions; First Motion to

Suppress Search Warrant and Other Evidence [Doc. 341], First Motion to Exclude

from Wiretap [Doc. 371], and First Motion to Exclude Evidence Seized from Search

of Cell Phones [Doc. 372] are currently scheduled on Friday, October 7, 2022, at

9:00 AM.

         2. Undersigned counsel is ill with flu-like symptoms and unable to appear at

the hearing.




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      3. The Defendant requests that the Court grant his request and enter an Order

continuing the Evidentiary hearing to a later date.

      4. The Government is unopposed to the Defendant’s Motion to Continue

Evidentiary Hearing.

      WHEREFORE, based upon the within and foregoing, the Defendant

respectfully requests that this Court grant his Unopposed Motion to Continue

Evidentiary Hearing and to toll the appropriate amount of time pursuant to the

Speedy Trial Act pursuant to 18 U.S.C. § 3161 (7)(A).

      This 7th day of October 2022.

                                       Respectfully submitted,


                                       /s/ Bruce S. Harvey
                                       LAW OFFICE OF BRUCE S. HARVEY
                                       ATTORNEYS FOR DEFENDANT
                                       Bruce S. Harvey, #335175
                                       146 Nassau Street, NW
                                       Atlanta, Georgia 30303
                                       (404) 659-4628




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                         CERTIFICATE OF SERVICE

      This is to certify that I have this day served a copy of the within and foregoing

Unopposed Motion to Continue Evidentiary Hearing using the Court’s CM/ECF

system which will deliver a copy to all registered to receive service via CM/ECF,

addressed as follows:

                          Frank Pennington, AUSA
                          U.S. Attorney's Office - Savannah
                          P.O. Box 8970
                          22 Barnard Street, Suite 300
                          Savannah, GA 31401

      This 7th day of October 2022.


                                       /s/ Bruce S. Harvey
                                       LAW OFFICE OF BRUCE S. HARVEY
                                       ATTORNEYS FOR DEFENDANT
                                       Bruce S. Harvey, #335175
                                       bruce@bharveylawfirm.com
                                       146 Nassau Street, NW
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